        Case 1:16-bk-00002          Document No. 4         Filed 02/09/16     Page 1 of 1




                        FILED
                            Clerk
                        District Court

                      FEB —92016                 Certificate Number: 1 4426-GU-CC-02685 8412
               for the No~hern Mad:na_~        H~IIIlI iIIII~Uh lIilI~II IIIHIIN1 liii l hII[I~ 1[I
                             P                                  N426-GU-CC-026858412




                      CERTIFIcATE OF CouNsELING

I CERTIFY that on January 26, 2016, at 12:28 o’clock PM MST, Donald Browne
received from ABC American Bankruptcy Counselors, an agency approved
pursuant to ii U.S.C. § 111 to provide credit counseling in the District of Guam,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
§~ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet and telephone.




Date:     January 27, 2016                       By:        Is/Terry S. Dworkin


                                                  Name: Terry S. Dworkin

                                                  Title:    Executive Director




*   Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §~ 109(h) and 521(b).
